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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO

                                                   )
 Patricia A. Prephan
                                                   )
                                                   )        Case No.     11-CV-434
        v.                                         )
                                                   )        Corporate Disclosure Statement
 NCO Financial Systems, Inc., et al.               )
                                                   )

         Pursuant to the Corporate Disclosure Statement provisions in Local Civil Rule 3.13(b) and
Local Criminal Rule 16.2: Any non-governmental corporate party to a proceeding must file a
statement identifying all its parent, subsidiary and other affiliate corporations and listing any publicly held
company that owns 10% or more of the party’s stock. A party must file the statement upon filing a
complaint, answer, motion, response or other pleading in this Court, whichever occurs first. The
obligation to disclose any changes will be continuing throughout the pendency of the case.

        In compliance with those provisions, this Corporate Disclosure Statement is filed on behalf of:
          Chase Bank USA, N.A.
         _____________________________________________________________________.

1.      Is said party a parent, subsidiary or other affiliate of a publicly owned corporation?
            ✘
         _____   Yes        _____ No.

        If the answer is Yes, list below the identity of the parent, subsidiary or other affiliate corporation
        and the relationship between it and the named party:
         JPMorgan Chase & Co., indirect parent of Chase Bank USA, N.A.




2.      Is there a publicly owned corporation, not a party to the case, that has a financial interest in the
        outcome? _____✘    Yes       _____ No.

        If the answer is Yes, list the identity of such corporation and the nature of the financial interest:
         JPMorgan Chase & Co.



          s/ David D. Yeagley (0042433)                        March 3, 2011
         (Signature of Counsel)                                (Date)
